                                                                                                                                Rev. 12/01/19
                                                           LOCAL BANKRUPTCY FORM 3015-1

                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                                                        CHAPTER 13
Bruce L Lebitz                                                                CASE NO.
Heidi L Lebitz
                                                                                ORIGINAL PLAN
                                                                                  AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)
                                                                                Number of Motions to Avoid Liens
                                                                                Number of Motions to Value Collateral

                                                                     CHAPTER 13 PLAN

                                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is checked as
“Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if set out later in the plan.

1     The plan contains nonstandard provisions, set out in § 9, which are not included             Included             Not Included
      in the standard plan as approved by the U.S. Bankruptcy Court for the Middle
      District of Pennsylvania.
2     The plan contains a limit on the amount of a secured claim, set out in § 2.E,                Included             Not Included
      which may result in a partial payment or no payment at all to the secured
      creditor.
3     The plan avoids a judicial lien or nonpossessory, nonpurchase-money security                 Included             Not Included
      interest, set out in § 2.G.

                                              YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection. This plan may
be confirmed and become binding on you without further notice or hearing unless a written objection is filed before the deadline
stated on the Notice issued in connection with the filing of the plan.


1.         PLAN FUNDING AND LENGTH OF PLAN.

           A.          Plan Payments From Future Income


                       1. To date, the Debtor paid $ 0.00 (enter $0 if no payments have been made to the Trustee to date). Debtor shall
                       pay to the Trustee for the remaining term of the plan the following payments. If applicable, in addition to monthly
                       plan payments, Debtor shall make conduit payments through the Trustee as set forth below. The total base plan is
                       $342,000.00, plus other payments and property stated in § 1B below:

      Start                  End                                Plan                Estimated          Total                 Total
      mm/yy                 mm/yy                             Payment                Conduit          Monthly              Payment
                                                                                    Payment           Payment              Over Plan
                                                                                                                             Tier
12/21                 11/26                                              3,768.38       1,931.62          5,700.00                 342,000.00




                                                                                                   Total Payments:               $342,000.00

                       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a different
                       payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing, to adjust the conduit
                       payments and the plan funding. Debtor must pay all post-petition mortgage payments that come due before the
                       initiation of conduit mortgage payments.
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                       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of the plan.

                       4. CHECK ONE:            Debtor is at or under median income. If this line is checked, the rest of § 1.A.4 need not be
                                              completed or reproduced.

                                                 Debtor is over median income. Debtor estimates that a minimum of $0.00 must be paid to
                                              allowed unsecured creditors in order to comply with the Means Test.


           B.          Additional Plan Funding From Liquidation of Assets/Other

                       1. The Debtor estimates that the liquidation value of this estate is $11,702.82. (Liquidation value is calculated as the
                          value of all non-exempt assets after the deduction of valid liens and encumbrances and before the deduction of
                          Trustee fees and priority claims.)

                       Check one of the following two lines.

                           No assets will be liquidated. If this line is checked, the rest of § 1.B.2 and complete § 1.B.3 if applicable

                           Certain assets will be liquidated as follows:

                       2. In addition to the above specified plan payments, Debtor shall dedicate to the plan proceeds in the estimated
                          amount of $ from the sale of property known and designated as . All sales shall be completed by . If the
                          property does not sell by the date specified, then the disposition of the property shall be as follows:


                       3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:


2.         SECURED CLAIMS.

           A.          Pre-Confirmation Distributions. Check one.

                None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

                Adequate protection and conduit payments in the following amounts will be paid by the Debtor to the Trustee. The
                 Trustee will disburse these payments for which a proof of claim has been filed as soon as practicable after receipt of said
                 payments from the Debtor.

                                                                                                           Last Four Digits          Estimated
                                               Name of Creditor
                                                                                                             of Account               Monthly
                                                                                                               Number                Payment
                                         Attn: Customer Service/Bankruptcy; Po Box 26648;
Midland Mortgage Co                      Oklahoma City, OK 73216                                        3365                             $1,931.62

           1. The Trustee will not make a partial payment. If the Debtor makes a partial plan payment, or if it is not paid on time and the
              Trustee is unable to pay timely a payment due on a claim in this section, the Debtor’s cure of this default must include any
              applicable late charges.

           2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the conduit payment to the Trustee will
              not require modification of this plan.

           B.          Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments by
                       Debtor. Check one.

                None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.


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                Payments will be made by the Debtor directly to the creditor according to the original contract terms, and without
                 modification of those terms unless otherwise agreed to by the contracting parties. All liens survive the plan if not
                 avoided or paid in full under the plan.

        Name of Creditor                                       Description of Collateral                Last Four Digits of Account Number
Lincoln Automotive                       2020 Ford Explorer Utility 4D 4WD I4 24,622 miles
Finance                                  Vehicle:                                              7491
                                         2020 Jeep Cherokee Latitude Plus 4WD 2.4 24,000 miles
Santander Consumer USA                   Vehicle:                                              1000

     C.          Arrears (Including, but not limited to, claims secured by Debtor’s principal residence). Check one.

                None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

                The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed claim. If post-petition
                 arrears are not itemized in an allowed claim, they shall be paid in the amount stated below. Unless otherwise ordered, if
                 relief from the automatic stay is granted as to any collateral listed in this section, all payments to the creditor as to that
                 collateral shall cease, and the claim will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

                                                                                            Estimated          Estimated
                                                                                                                                 Estimated
                                                                                           Pre-petition       Post-petition
        Name of Creditor                               Description of Collateral                                                Total to be
                                                                                           Arrears to be       Arrears to
                                                                                                                                paid in plan
                                                                                              Cured            be Cured
Midland Mortgage Co                      111 Helen Avenue Shippensburg, PA 17257                $41,000.00             $0.00        $41,000.00

     D.          Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable, etc.)

                None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

                The claims below are secured claims for which a § 506 valuation is not applicable, and can include: (1) claims that were
                 either (a) incurred within 910 days of the petition date and secured by a purchase money security interest in a motor
                 vehicle acquired for the personal use of the Debtor, or (b) incurred within 1 year of the petition date and secured by a
                 purchase money security interest in any other thing of value; (2) conduit payments; or (3) secured claims not provided
                 for elsewhere.

                 1. The allowed secured claims listed below shall be paid in full and their liens retained until the earlier of the payment of
                    the underlying debt determined under nonbankruptcy law or discharge under §1328 of the Code.

                 2. In addition to payment of the allowed secured claim, present value interest pursuant to 11 U.S.C. §1325(a)(5)(B)(ii)
                    will be paid at the rate and in the amount listed below, unless an objection is raised. If an objection is raised, then the
                    court will determine the present value interest rate and amount at the confirmation hearing.

                 3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid, payments on the claim shall
                    cease.

                                                                                           Principal
                                                                                                                 Interest       Total to be
        Name of Creditor                             Description of Collateral             Balance of
                                                                                                                  Rate          Paid in Plan
                                                                                             Claim
                                         111 Helen Avenue Shippensburg, PA
Midland Mortgage Co                      17257                                                 $205,841.00           4.375%        $115,897.20

           E.     Secured claims for which a § 506 valuation is applicable. Check one.
             None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

           F.          Surrender of Collateral. Check one.

                None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.


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           G.          Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

                None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

3.          PRIORITY CLAIMS.

           A.          Administrative Claims

                       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States Trustee.

                       2. Attorney’s fees. Complete only one of the following options:

                              a.      In addition to the retainer of $ 349.00 already paid by the Debtor, the amount of $ 4,651.00 in the
                                      plan. This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R.
                                      2016-2(c); or

                              b.      $       per hour, with the hourly rate to be adjusted in accordance with the terms of the written fee
                                      agreement between the Debtor and the attorney. Payment of such lodestar compensation shall require a
                                      separate fee application with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

                       3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                                 Check one of the following two lines.

                None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

           B. Priority Claims (including, certain Domestic Support Obligations)


           Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless modified under § 9.

                Name of Creditor                                                  Estimated Total Payment
IRS                                                                                       $35,540.35

           C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B). Check
              one of the following two lines.

                None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.

4.         UNSECURED CLAIMS

           A. Claims of Unsecured Nonpriority Creditors Specially Classified.
              Check one of the following two lines.

                None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

           B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after payment of
              other classes.

5.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

                None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6.         VESTING OF PROPERTY OF THE ESTATE.

           Property of the estate will vest in the Debtor upon

           Check the applicable line:


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                  plan confirmation.
                  entry of discharge.
                  closing of case.


7.         DISCHARGE: (Check one)

               The debtor will seek a discharge pursuant to § 1328(a).
               The debtor is not eligible for a discharge because the debtor has previously received a discharge described in § 1328(f).


8.         ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the claim as
allowed, subject to objection by the Debtor.



Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not filled-in, then the
order of distribution of plan payments will be determined by the Trustee using the following as a guide:

Level 1:         Adequate protection payments.
Level 2:         Debtor's attorney's fees.
Level 3:         Domestic Support Obligations.
Level 4:         Priority claims, pro rata.
Level 5:         Secured claims, pro rata.
Level 6:         Specially classified unsecured claims.
Level 7:         Timely filed general unsecured claims.
Level 8:         Untimely filed general unsecured claims to which the Debtor has not objected.

9.          NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere in the plan is void.
(NOTE: The plan and any attachment must be filed as one document, not as a plan and exhibit.)

Dated:        November 11, 2021                                               /s/ Nicholas G. Platt
                                                                              Nicholas G. Platt 327239
                                                                              Attorney for Debtor

                                                                              /s/ Bruce L Lebitz
                                                                              Bruce L Lebitz
                                                                              Debtor

                                                                              /s/ Heidi L Lebitz
                                                                              Heidi L Lebitz
                                                                              Joint Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that this plan contains
no nonstandard provisions other than those set out in § 9.

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